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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

BERTRUM JEAN, Individually and as the
surviving father of BOTHAM SHEM
JEAN, ALLISON A. JEAN, Individually
and as the surviving mother of BOTHAM
SHEM JEAN, and ALLISA E. FINDLEY as

§
§
§
§
§
the Administrator of the Estate of § CIVIL ACTION NO.
BOTHAM SHEM JEAN, §
§ 3:18-CV-2862-M.
Plaintiffs §
Vv. §
§
THE CITY OF DALLAS and AMBER §
GUYGER, §
§
Defendants §

WAIVER OF SERVICE OF SUMMONS

TO: Daryl K. Washington

Washington Law Firm, P.C.

325 N. St. Paul, Suite 3950

Dallas, Texas 75201

I acknowledge receipt of your request that I waive service of a summons in the action
stated above, which was filed in the United States District Court for the Northern District of
Texas. I have also received a copy of the complaint in the action, two copies of this Instrument,
and a means by which I can return the signed waiver to you without cost to me.

I agree to save the cost of service of a summons and an additional copy of the complaint

in this lawsuit by not requiring that Defendant Amber Guyger be served with judicial process in

the manner provided by Rule 4.

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Defendant Amber Guyger will retain all defenses or objections to the lawsuit or to the
jurisdiction or venue of the Court except for objections based on a defect in the summons or in

the service of the summons.

I understand that a judgment may be entered against Defendant Amber Guyger if an
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answer or motion under Rule 12 is not served upon you w thing days after the date the request

was sent, which was January 7, 2019.

WEL)

Date (/

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Robert L. Rogers, Attofe) abo’ to accept
service on behalf of Arhbér Guyger

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